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                             UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     In re:
                                                                    Chapter 11
                                   1
     Stream TV Networks, Inc.,
                                                                    Bky. No. 23-10763 (MDC)
                    Debtor.


     In re:                                                         Chapter 11

     Technovative Media, Inc.,                                      Bky. No. 23-10764 (MDC)

                    Debtor.                                         (Jointly Administered)


                   MOTION FOR ADMISSION PRO HAC VICE OF SCOTT D. COUSINS

              Rafael X. Zahralddin-Aravena (“Movant”), a member in good standing of the Bar of the

 Supreme Court of Pennsylvania and an attorney admitted to practice before the United States

 Bankruptcy Court for the Eastern District of Pennsylvania, and a partner in the law firm of Lewis

 Brisbois Bisgaard & Smith, LLP, moves for entry of an order permitting Scott D. Cousins

 (“Applicant”), to appear pro hac vice in the above-captioned bankruptcy case and any related

 adversary proceedings as counsel for debtors, Stream TV Networks, Inc. and Technovative Media,

 Inc. (the “Debtors”), pursuant to Local Bankruptcy Rule 2090-1(b) of the United States

 Bankruptcy Court for the Eastern District of Pennsylvania. In support of this Motion, Movant

 respectfully states as follows:

              1.       Scott D. Cousins is a partner with the law firm of Lewis Brisbois Bisgaard &

 Smith, LLP, located at 500 Delaware Avenue, Suite 700, Wilmington, DE 19801.



 1
  The Debtors, together with the last four digits of the Debtors' federal tax identification numbers, are Stream TV
 Networks, Inc. (…4092) and Technovative Media, Inc. (…5015). The location of the Debtors' service address is:
 2009 Chestnut Street, 3rd Floor, Philadelphia, PA 19103.
 133824727.1                                             1
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          2.    Applicant is a member in good standing with the Bar of the State of Delaware and

 is also admitted to practice before the United States District Court for the District of Delaware.

          3.    Applicant is a member in good standing in the jurisdiction for which he is admitted

 and/or a member, and is not currently under suspension or subject to other disciplinary action.

          4.    Attached as Exhibit A is Applicant’s certification that he is eligible for pro hac

 vice admission under Local Bankruptcy Rule 2090-1(b).

          5.    Pursuant to Local Bankruptcy Rule 9014-2, and because this Motion does not

 present contested issues, Movant requests that this Court consider this Motion ex parte and without

 an oral hearing.

          6.    The filing fee has been paid upon the filing of this Motion with the Court.

          WHEREFORE, Movant respectfully requests entry of an Order submitted simultaneously

 herewith approving the admission pro hac vice of Scott D. Cousins as counsel to Debtors, Stream

 TV Networks, Inc. and Technovative Media, Inc., in connection with the above-captioned

 bankruptcy case and any related proceedings, and for such other and further relief as is necessary

 and appropriate.

 Date: January 2, 2024                         Respectfully submitted,

                                               /s/ Rafael X. Zahralddin-Aravena________
                                               Rafael X. Zahralddin-Aravena (PA Bar No. 71510)
                                               LEWIS BRISBOIS BISGAARD & SMITH, LLP
                                               550 E. Swedesford Road, Suite 270
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                                               Counsel to the Debtors




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